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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                          )
UNITED STATES OF AMERICA,                 )
                                          )     Criminal No. 1:22-cr-00015-APM
                   v.                     )
                                          )
KELLY MEGGS,                              )
                                          )
               Defendant.                 )
                                          )


                            NOTICE OF APPEARANCE


      THE CLERK OF THE COURT will kindly note the Appearance of Julia Z.

Haller, of the Law Offices of Julia Haller, as counsel for Defendant, Kelly Meggs, as

co-counsel, with Stanley Woodward and his firm, Brand Woodward Law, LP, in the

above-captioned case.




                                       KELLY MEGGS

                                       Respectfully Submitted,




                                               /s/ Juli Haller
                                       Juli Z. Haller, (DC 466921)
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                                       Washington, DC 20004
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                           CERTIFICATE OF SERVICE

      On June 24, 2022 the undersigned hereby certifies that a true and correct

copy of the foregoing was electronically filed and served via the CM/ECF system,

which will automatically send electronic notification of such filing to all registered

parties.


                                               /s/ Juli Haller
                                        Juli Z. Haller, (DC 466921)




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